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AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Western District of North Carolina

Monti Antonio S.P.A )
Plaintiff )
v. ) Civil Action No. 3:19-cv-412
Sublitech, Inc. et al )
Defendant )

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 07/22/2020 si

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer

pending.

Date: _ 10/01/2020

CLERK OF COURT

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— Faak ag

Signature of Clerk cr Deputy Clerk-
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